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            Generated on: This page was generated by TSDR on 2015-06-16 16:39:52 EDT
                     Mark: JACK DANIEL'S OLD NO.7 BRAND TENNESSEE SOUR MASH WHISKEY




        US Serial Number: 76246508                                                     Application Filing Date: Apr. 25, 2001
 US Registration Number: 2789278                                                             Registration Date: Dec. 02, 2003
                  Register: Principal
                Mark Type: Trademark
                    Status: The registration has been renewed.
              Status Date: Dec. 28, 2013
         Publication Date: Apr. 22, 2003                                            Notice of Allowance Date: Jul. 15, 2003



                                                                 Mark Information
    Mark Literal Elements: JACK DANIEL'S OLD NO.7 BRAND TENNESSEE SOUR MASH WHISKEY
Standard Character Claim: No
      Mark Drawing Type: 3 - AN ILLUSTRATION DRAWING WHICH INCLUDES WORD(S)/ LETTER(S)/NUMBER(S)
      Description of Mark: The mark consists of the stylized wording JACK DANIEL'S OLD NO. 7 BRAND TENNESSEE SOUR MASH WHISKEY and an oval
                           shaped design in the center with a filigree appearing around the border.
         Color(s) Claimed: Color is not claimed as a feature of the mark.
               Disclaimer: "BRAND TENNESSEE SOUR MASH WHISKEY"
  Design Search Code(s): 03.13.03 - Horns (of animal) along (not part of heads), antlers
                         21.03.01 - Beach balls; Billiard balls; Bingo balls; Lottery balls; Playground balls; Table tennis balls; Tennis balls; Balls including
                         playground balls, beach balls, billiard balls, tennis balls, bingo balls and lottery balls; Paddle balls
                         26.05.20 - Triangles inside one another
                         26.05.21 - Triangles that are completely or partially shaded
   Name Portrait Consent: The name "JACK DANIEL'S" does not identify a living individual.

                                                    Related Properties Information
Claimed Ownership of US 0582789, 1758658, 1923981 and others
          Registrations:

                                                                Goods and Services
Note: The following symbols indicate that the registrant/owner has amended the goods/services:

              Brackets [..] indicate deleted goods/services;
              Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
              Asterisks *..* identify additional (new) wording in the goods/services.

                       For: ALCOHOLIC BEVERAGES, NAMELY, TENNESSEE SOUR MASH WHISKEY
   International Class(es): 033 - Primary Class                                                  U.S Class(es): 047, 049
             Class Status: ACTIVE
                     Basis: 1(a)
                 First Use: Dec. 31, 1991                                                   Use in Commerce: Dec. 31, 1991

                                                     Basis Information (Case Level)
             Filed Use: No                                    Currently Use: Yes                                     Amended Use: No
             Filed ITU: Yes                                    Currently ITU: No                                      Amended ITU: No




                                                                                                                                                        JDPI002909
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             Filed 44D: No                                Currently 44D: No                             Amended 44D: No
             Filed 44E: No                                Currently 44E: No                             Amended 44E: No
             Filed 66A: No                                Currently 66A: No
         Filed No Basis: No                         Currently No Basis: No

                                                 Current Owner(s) Information
             Owner Name: Jack Daniel's Properties, Inc.
           Owner Address: 4040 Civic Center Drive, Suite 528
                          San Rafael, CALIFORNIA 94903
                          UNITED STATES
         Legal Entity Type: CORPORATION                                       State or Country Where DELAWARE
                                                                                          Organized:

                                            Attorney/Correspondence Information
                                                                   Attorney of Record
           Attorney Name: David S. Gooder                                            Docket Number: 8791
  Attorney Primary Email jdpilegal@jdpi.com                                             Attorney Email Yes
               Address:                                                                    Authorized:
                                                                     Correspondent
            Correspondent David S. Gooder
            Name/Address: JACK DANIEL'S PROPERTIES, INC.
                          4040 CIVIC CENTER DR STE 528
                          SAN RAFAEL, CALIFORNIA 94903-4191
                          UNITED STATES
                   Phone: 415-446-5225                                                           Fax: 415-446-5230
   Correspondent e-mail: jdpilegal@jdpi.com                                    Correspondent e-mail Yes
                                                                                       Authorized:
                                                           Domestic Representative - Not Found

                                                           Prosecution History
                                                                                                                                Proceeding
  Date                        Description
                                                                                                                                Number

Dec. 28, 2013            NOTICE OF ACCEPTANCE OF SEC. 8 & 9 - E-MAILED
Dec. 28, 2013            REGISTERED AND RENEWED (FIRST RENEWAL - 10 YRS)                                                       76293
Dec. 28, 2013            REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED                                                   76293
Dec. 12, 2013            REGISTERED - COMBINED SECTION 8 (10-YR) & SEC. 9 FILED                                                76293
Dec. 12, 2013            TEAS SECTION 8 & 9 RECEIVED
Dec. 05, 2013            PETITION TO DIRECTOR - DISMISSED                                                                      76845
Nov. 29, 2013            AMENDMENT UNDER SECTION 7 - ISSUED                                                                    76293
Nov. 04, 2013            ASSIGNED TO PETITION STAFF                                                                            76845
Oct. 10, 2013            TEAS PETITION TO DIRECTOR RECEIVED                                                                    1111
Oct. 09, 2013            ATTORNEY REVOKED AND/OR APPOINTED
Oct. 09, 2013            TEAS REVOKE/APPOINT ATTORNEY RECEIVED
Apr. 18, 2013            POST REGISTRATION ACTION MAILED - SEC. 7                                                              76293
Mar. 15, 2013            TEAS SECTION 7 REQUEST RECEIVED
Dec. 07, 2009            REGISTERED - SEC. 8 (6-YR) ACCEPTED & SEC. 15 ACK.                                                    69934
Dec. 07, 2009            CASE ASSIGNED TO POST REGISTRATION PARALEGAL                                                          69934
Nov. 24, 2009            TEAS SECTION 8 & 15 RECEIVED
Dec. 02, 2003            REGISTERED-PRINCIPAL REGISTER
Sep. 21, 2003            ALLOWED PRINCIPAL REGISTER - SOU ACCEPTED
Sep. 15, 2003            ASSIGNED TO EXAMINER                                                                                  73358
Sep. 13, 2003            CASE FILE IN TICRS
Aug. 19, 2003            STATEMENT OF USE PROCESSING COMPLETE
Aug. 06, 2003            USE AMENDMENT FILED
Aug. 06, 2003            TEAS STATEMENT OF USE RECEIVED



                                                                                                                                JDPI002910
         Case 2:14-cv-02057-SMM                           Document 224-4                    Filed 10/19/17               Page 4 of 116

Jul. 15, 2003           NOA MAILED - SOU REQUIRED FROM APPLICANT
Apr. 22, 2003           PUBLISHED FOR OPPOSITION
Apr. 02, 2003           NOTICE OF PUBLICATION
Feb. 05, 2003           APPROVED FOR PUB - PRINCIPAL REGISTER
Feb. 05, 2003           EXAMINERS AMENDMENT MAILED
Mar. 28, 2002           FINAL REFUSAL MAILED
Jan. 08, 2002           CORRESPONDENCE RECEIVED IN LAW OFFICE
Aug. 01, 2001           NON-FINAL ACTION MAILED
Jul. 29, 2001           ASSIGNED TO EXAMINER                                                                                               73358
Jul. 05, 2001           ASSIGNED TO EXAMINER                                                                                               76731
                            Maintenance Filings or Post Registration Information
   Affidavit of Continued Section 8 - Accepted
                     Use:
              Affidavit of Section 15 - Accepted
         Incontestability:
           Renewal Date: Dec. 02, 2013
  Change in Registration: Yes
        Amendment to a In the statement, Column 1, line 12, "AND QUALITY" is deleted. Column 2, line 3 through 8 "The mark consists of the claims the color
    Registration/Renewal white on black shown in the mark as a feature of the mark. The color black appears in the background and the color white appears in
              Certificate: the text and graphics in the mark as shown." is deleted, and "The mark consists of the stylized wording JACK DANIEL'S OLD NO. 7
                           BRAND TENNESSEE SOUR MASH WHISKEY and an oval shaped design in the center with a filigree appearing around the border." is
                           inserted. The drawing is amended to appear as follows: PUBLISH NEW CUT

                                            TM Staff and Location Information
                                                                TM Staff Information - None
                                                                       File Location
       Current Location: GENERIC WEB UPDATE                                            Date in Location: Dec. 28, 2013




                                                                                                                                             JDPI002911
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                                                                      JDPI002912
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                                                                      JDPI002913
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From:              TMOfficialNotices@USPTO.GOV
Sent:              Saturday, December 28, 2013 11:01 PM
To:                jdpilegal@jdpi.com
Subject:           Trademark RN 2789278: Official Notice of Acceptance and Renewal under Sections 8 and 9 of the
                   Trademark Act


Serial Number: 76246508
Registration Number: 2789278
Registration Date: Dec 2, 2003
Mark: JACK DANIEL'S OLD NO.7 BRAND TENNESSEE S, etc. (STYLIZED/DESIGN)
Owner: Jack Daniel's Properties, Inc.




                                                        Dec 28, 2013

                              NOTICE OF ACCEPTANCE UNDER SECTION 8

The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the
Trademark Act, 15 U.S.C. §1058. The Section 8 declaration is accepted.



                     NOTICE OF REGISTRATION RENEWAL UNDER SECTION 9

The renewal application filed for the above-identified registration meets the requirements of Section 9 of the Trademark Act, 15
U.S.C. §1059. The registration is renewed.

The registration will remain in force for the class(es) listed below for the remainder of the ten-year period, calculated
from the registration date, unless canceled by an order of the Commissioner for Trademarks or a Federal Court.

Class(es):
033




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500




           REQUIREMENTS FOR MAINTAINING REGISTRATION IN SUCCESSIVE TEN-YEAR PERIODS

WARNING: Your registration will be canceled if you do not file the documents below during the specified time periods.

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between
every 9th and 10th-year period, calculated from the registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of
an additional fee.

***The USPTO WILL NOT SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE


                                                                                                                     JDPI002914
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REGISTRANT SHOULD CONTACT THE USPTO ONE YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN
ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.***

To view this notice and other documents for this application on-line, go to http://tdr.uspto.gov/search.action?sn=76246508.
NOTE: This notice will only be available on-line the next business day after receipt of this e-mail.




                                                                                                                    JDPI002915
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PTO Form 1963 (Rev 5/2006)
OMB No. 0651-0055 (Exp 09/30/2014)


        Combined Declaration of Use and/or Excusable
 Nonuse/Application for Renewal of Registration of a Mark under
                         Sections 8 & 9


                                     The table below presents the data as entered.

                             Input Field                                    Entered
         REGISTRATION NUMBER                        2789278
         REGISTRATION DATE                          12/02/2003
         SERIAL NUMBER                              76246508
         MARK SECTION
                                                    JACK DANIEL'S OLD NO.7 BRAND TENNESSEE
         MARK
                                                    S (stylized and/or with design)
         ATTORNEY SECTION (current)
         NAME                                       Christopher C. Larkin
         FIRM NAME                                  JACK DANIEL'S PROPERTIES, INC.
         STREET                                     4040 CIVIC CENTER DR STE 528
         CITY                                       SAN RAFAEL
         STATE                                      California
         POSTAL CODE                                94903-4191
         COUNTRY                                    United States
         PHONE                                      415-446-5225
         FAX                                        415-446-5230
         EMAIL                                      jdpilegal@jdpi.com
         AUTHORIZED TO COMMUNICATE
         VIA E-MAIL
                                                    Yes

         ATTORNEY SECTION (proposed)
         NAME                                       David S. Gooder
         FIRM NAME                                  JACK DANIEL'S PROPERTIES, INC.
         STREET                                     4040 CIVIC CENTER DR STE 528


                                                                                                  JDPI002916
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CITY                         SAN RAFAEL
STATE                        California
POSTAL CODE                  94903-4191
COUNTRY                      United States
PHONE                        415-446-5225
FAX                          415-446-5230
EMAIL                        jdpilegal@jdpi.com
AUTHORIZED TO COMMUNICATE
VIA E-MAIL
                             Yes

DOCKET/REFERENCE NUMBER      8791
CORRESPONDENCE SECTION (current)
NAME                         David S. Gooder
FIRM NAME                    JACK DANIEL'S PROPERTIES, INC.
STREET                       4040 CIVIC CENTER DR STE 528
CITY                         SAN RAFAEL
STATE                        California
POSTAL CODE                  94903-4191
COUNTRY                      United States
PHONE                        415-446-5225
FAX                          415-446-5230
EMAIL                        jdpilegal@jdpi.com
AUTHORIZED TO COMMUNICATE
VIA E-MAIL
                             Yes

CORRESPONDENCE SECTION (proposed)
NAME                         David S. Gooder
FIRM NAME                    JACK DANIEL'S PROPERTIES, INC.
STREET                       4040 CIVIC CENTER DR STE 528
CITY                         SAN RAFAEL
STATE                        California
POSTAL CODE                  94903-4191
COUNTRY                      United States
PHONE                        415-446-5225

                                                                           JDPI002917
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FAX                           415-446-5230
EMAIL                         jdpilegal@jdpi.com
AUTHORIZED TO COMMUNICATE
VIA E-MAIL
                              Yes

DOCKET/REFERENCE NUMBER       8791
GOODS AND/OR SERVICES SECTION
INTERNATIONAL CLASS           033
                              ALCOHOLIC BEVERAGES, NAMELY,
GOODS OR SERVICES
                              TENNESSEE SOUR MASH WHISKEY
                              \\TICRS\EXPORT16\IMAGEOUT
SPECIMEN FILE NAME(S)
                              16\762\465\76246508\xml6\ S890002.JPG

                              Digital image of a bottle of the product with the label
SPECIMEN DESCRIPTION
                              affixed clearly showing the mark
OWNER SECTION (current)
NAME                          Jack Daniel's Properties, Inc.
STREET                        4040 Civic Center Drive, Suite 528
CITY                          San Rafael
STATE                         California
ZIP/POSTAL CODE               94903
COUNTRY                       United States
OWNER SECTION (proposed)
NAME                          Jack Daniel's Properties, Inc.
STREET                        4040 Civic Center Drive, Suite 528
CITY                          San Rafael
STATE                         California
ZIP/POSTAL CODE               94903
COUNTRY                       United States
PHONE                         415-446-5225
FAX                           415-446-5230
EMAIL                         jdpilegal@jdpi.com
AUTHORIZED TO COMMUNICATE
VIA E-MAIL
                              Yes

LEGAL ENTITY SECTION (current)

                                                                                   JDPI002918
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TYPE                          corporation
STATE/COUNTRY OF
INCORPORATION
                              Delaware

PAYMENT SECTION
NUMBER OF CLASSES             1
NUMBER OF CLASSES PAID        1
SUBTOTAL AMOUNT               500
GRACE PERIOD                  200
TOTAL FEE PAID                700
SIGNATURE SECTION
SIGNATURE                     //David S. Gooder//
SIGNATORY'S NAME              David S. Gooder
SIGNATORY'S POSITION          Chief Trademark Counsel
DATE SIGNED                   12/12/2013
SIGNATORY'S PHONE NUMBER      415-446-5225
PAYMENT METHOD                DA
                           FILING INFORMATION
SUBMIT DATE                   Thu Dec 12 13:27:06 EST 2013
                              USPTO/S08N09-38.88.175.58
                              -20131212132706119573-278
                              9278-500d26cf6ccb27793f0c
TEAS STAMP
                              4b45e83859fbc3eabddfea54d
                              815fce0d36dacc1-DA-617-20
                              131212132117488329




                                                                            JDPI002919
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PTO Form 1963 (Rev 5/2006)
OMB No. 0651-0055 (Exp 09/30/2014)




Combined Declaration of Use and/or Excusable Nonuse/Application for Renewal of
                  Registration of a Mark under Sections 8 & 9
To the Commissioner for Trademarks:

REGISTRATION NUMBER: 2789278
REGISTRATION DATE: 12/02/2003

MARK: (Stylized and/or with Design, JACK DANIEL'S OLD NO.7 BRAND TENNESSEE S)

The owner, Jack Daniel's Properties, Inc., a corporation of Delaware, having an address of
     4040 Civic Center Drive, Suite 528
     San Rafael, California 94903
     United States
is filing a Combined Declaration of Use and/or Excusable Nonuse/Application for Renewal of
Registration of a Mark under Sections 8 & 9.

For International Class 033, the mark is in use in commerce on or in connection with all goods or services
listed in the existing registration for this specific class: ALCOHOLIC BEVERAGES, NAMELY,
TENNESSEE SOUR MASH WHISKEY ; or, the owner is making the listed excusable nonuse claim.

The owner is submitting one(or more) specimen(s) showing the mark as used in commerce on or in
connection with any item in this class, consisting of a(n) Digital image of a bottle of the product with the
label affixed clearly showing the mark.
Specimen File1
The registrant's current Attorney Information: Christopher C. Larkin of JACK DANIEL'S PROPERTIES,
INC.
    4040 CIVIC CENTER DR STE 528
    SAN RAFAEL, California (CA) 94903-4191
    United States


The registrant's proposed Attorney Information: David S. Gooder of JACK DANIEL'S PROPERTIES,
INC.
   4040 CIVIC CENTER DR STE 528
   SAN RAFAEL, California (CA) 94903-4191
   United States
The docket/reference number is 8791.


The phone number is 415-446-5225.

The fax number is 415-446-5230.

The email address is jdpilegal@jdpi.com.


                                                                                                  JDPI002920
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The registrant's current Correspondence Information: David S. Gooder of JACK DANIEL'S
PROPERTIES, INC.
   4040 CIVIC CENTER DR STE 528
   SAN RAFAEL, California (CA) 94903-4191
   United States


The registrant's proposed Correspondence Information: David S. Gooder of JACK DANIEL'S
PROPERTIES, INC.
   4040 CIVIC CENTER DR STE 528
   SAN RAFAEL, California (CA) 94903-4191
   United States
The docket/reference number is 8791.


The phone number is 415-446-5225.

The fax number is 415-446-5230.

The email address is jdpilegal@jdpi.com.

A fee payment in the amount of $700 will be submitted with the form, representing payment for 1
class(es), plus any additional grace period fee, if necessary.

                                               Declaration


Section 8: Declaration of Use and/or Excusable Nonuse in Commerce
Unless the owner has specifically claimed excusable nonuse, the mark is in use in commerce on or in
connection with the goods and/or services identified above, as evidenced by the attached specimen(s)
showing the mark as used in commerce.


The undersigned being hereby warned that willful false statements and the like are punishable by fine or
imprisonment, or both, under 18 U.S.C. Section 1001, and that such willful false statements and the like
may jeopardize the validity of this document, declares that he/she is properly authorized to execute this
document on behalf of the Owner; and all statements made of his/her own knowledge are true and that all
statements made on information and belief are believed to be true.

Section 9: Application for Renewal
The registrant requests that the registration be renewed for the goods/services identified above.


Signature: //David S. Gooder//    Date: 12/12/2013
Signatory's Name: David S. Gooder
Signatory's Position: Chief Trademark Counsel
Signatory's Phone Number: 415-446-5225

Mailing Address (current):
 JACK DANIEL'S PROPERTIES, INC.

                                                                                                    JDPI002921
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 4040 CIVIC CENTER DR STE 528
 SAN RAFAEL, California 94903-4191

Mailing Address (proposed):
 JACK DANIEL'S PROPERTIES, INC.
 4040 CIVIC CENTER DR STE 528
 SAN RAFAEL, California 94903-4191

Serial Number: 76246508
Internet Transmission Date: Thu Dec 12 13:27:06 EST 2013
TEAS Stamp: USPTO/S08N09-38.88.175.58-20131212132706
119573-2789278-500d26cf6ccb27793f0c4b45e
83859fbc3eabddfea54d815fce0d36dacc1-DA-6
17-20131212132117488329




                                                                                   JDPI002922
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                                                                      JDPI002923
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                                                                      JDPI002924
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                                                                      JDPI002925
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               UNITED STATES PATENT AND TRADEMARK OFFICE

 U. S. APPLICATION SERIAL NUMBER: 76/246508

 U. S. REGISTRATION NUMBER: 2,789,278
                                                                                 *2789278*
 CORRESPONDENCE ADDRESS:                                                         RETURN ADDRESS:

 Christopher C. Larkin, Esq.                                                     Commissioner for Trademarks
 Seyfarth Shaw                                                                   P.O. Box 1451
 One Century Plaza, Suite 3500                                                   Alexandria, VA 22313-1451
 2029 Century Park East
 Los Angeles, CA 90067-3021
 MARK:                                                                           ISSUE/MAILING DATE:
  JACK DANIEL'S OLD NO.7 BRAND TENNESSEE S ETC.                                  December 5, 2013

 APPLICANT/REGISTRANT:
   Jack Daniel's Properties, Inc.

 CORRESPONDENT’S REFERENCE/DOCKET NO :
   N/A

 CORRESPONDENT’S EMAIL ADDRESS :
   jdpilegal@jdpi.com


                               PETITION TO DIRECTOR MOOT

Dear Mr. Larkin:

This acknowledges receipt on October 10, 2013, of a petition to the Director to reverse a decision by the
paralegal specialist in the Post Registration Division refusing to allow petitioner to amend the mark in the
subject registration.

DECISION: The petition is hereby DISMISSED as MOOT.

A registrant may petition the Director to review an examiner’s refusal to accept a request to amend a
registration. 37 C.F.R. §§2.146(a)(2) and 2.176. Such petitions will result in a de novo review of the
examiner’s action. See, In re Umax Data System, Inc., 40 USPQ2d 1539 (Comm’r Pats. 1996).
Here, a review of the registration shows that the paralegal specialist accepted the amendment of the mark
on November 29, 2013. Therefore, no petition is needed and the petition is dismissed as moot.

The $100 petition fee, received on October 10, 2013, will be refunded.




Regards,



                                                                                                  JDPI002926
      Case 2:14-cv-02057-SMM          Document 224-4        Filed 10/19/17     Page 20 of 116


/cgj/
Charles G. Joyner
Attorney Advisor
Office of the Deputy Commissioner
  for Trademark Examination Policy

For general and other useful information about trademarks, you are encouraged to visit the USPTO web
site at http://www.uspto.gov/main/trademarks.htm.




                                                                                             JDPI002927
          Case 2:14-cv-02057-SMM                         Document 224-4        Filed 10/19/17     Page 21 of 116


Global Format; No Form Number (Rev 8/2009)
OMB No. 0651-0054 (Exp. 10/31/2017)


                                                 2.146 petition to the Director


                                       The table below presents the data as entered.

           Input Field                                                        Entered
 SERIAL NUMBER                               76246508
 REGISTRATION
                                             2789278
 NUMBER
 FORM TEXT
 Please see the attached Petition to the Director pursuant to Rule 2.146(a)(2) of the Trademark Rules of
 Practice seeking reversal of the April 18, 2013 decision of the Post Registration Examiner, on Petitioner
 Jack Daniel's Properties, Inc.'s request under Section 7(e) of the Trademark Act to amend the drawing of
 the mark in Registration No. 2,789,278, refusing to accept the requested amendment on the ground that
 it involves a material alteration of the mark.
       ATTACHMENT(S)

      ORIGINAL PDF FILE                      Petition to Director_201391033420951.pdf
    CONVERTED PDF
 FILE(S)                                     \\TICRS\EXPORT16\IMAGEOUT16\762\465\76246508\xml4\PDR0002.jpg
    (5 pages)

                                             \\TICRS\EXPORT16\IMAGEOUT16\762\465\76246508\xml4\PDR0003.jpg

                                             \\TICRS\EXPORT16\IMAGEOUT16\762\465\76246508\xml4\PDR0004.jpg

                                             \\TICRS\EXPORT16\IMAGEOUT16\762\465\76246508\xml4\PDR0005.jpg

                                             \\TICRS\EXPORT16\IMAGEOUT16\762\465\76246508\xml4\PDR0006.jpg

 PAYMENT SECTION
 NUMBER OF CLASSES                           1
 FEE PER CLASS                               100
 TOTAL FEES DUE                              100
 SIGNATURE SECTION
                                             The filing Attorney has elected not to submit the signed declaration,
 DECLARATION
 SIGNATURE                                   believing no supporting declaration is required under the Trademark Rules of
                                             Practice.
 SUBMISSION
 SIGNATURE
                                             /Christopher C. Larkin/



                                                                                                                JDPI002928
          Case 2:14-cv-02057-SMM                          Document 224-4     Filed 10/19/17    Page 22 of 116

 SIGNATORY'S NAME                            Christopher C. Larkin
 SIGNATORY'S POSITION                        Attorney of Record, California State Bar member
 SIGNATORY'S PHONE
 NUMBER
                                             310-201-5289

 DATE SIGNED                                 10/10/2013
 AUTHORIZED
 SIGNATORY
                                             YES

 FILING INFORMATION SECTION
                                             USPTO/PDR-10.112.151.171-
                                             20131010154914885327-2789
 TEAS STAMP                                  278-20131010153306313615-
                                             DA-2624-20131010153306313
                                             615




Global Format; No Form Number (Rev 8/2009)
OMB No. 0651-0054 (Exp. 10/31/2017)




                          2.146 petition to the Director
To the Commissioner for Trademarks:

The following is submitted for registration number. 2789278 :

FORM INFORMATION

Please see the attached Petition to the Director pursuant to Rule 2.146(a)(2) of the Trademark Rules of
Practice seeking reversal of the April 18, 2013 decision of the Post Registration Examiner, on Petitioner
Jack Daniel's Properties, Inc.'s request under Section 7(e) of the Trademark Act to amend the drawing of
the mark in Registration No. 2,789,278, refusing to accept the requested amendment on the ground that it
involves a material alteration of the mark.

FORM FILE NAME(S)

Original PDF file:
Petition to Director_201391033420951.pdf
Converted PDF file(s) (5 pages)
Attachments-1
Attachments-2
Attachments-3
Attachments-4
Attachments-5



                                                                                                          JDPI002929
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FEE(S)
Fee(s) in the amount of $100 is being submitted.

SIGNATURE(S)
Declaration Signature
I hereby elect to bypass the submission of a signed declaration, because I believe a declaration is not
required by the rules of practice. I understand that the examiner could still, upon later review, require a
signed declaration.

Submission Signature
Signature: /Christopher C. Larkin/ Date: 10/10/2013
Signatory's Name: Christopher C. Larkin
Signatory's Position: Attorney of Record, California State Bar member
Signatory's Phone Number: 310-201-5289

The signatory has confirmed that he/she is an attorney who is a member in good standing of the bar of the
highest court of a U.S. state, which includes the District of Columbia, Puerto Rico, and other federal
territories and possessions; and he/she is currently the petitioner's attorney or an associate thereof; and to
the best of his/her knowledge, if prior to his/her appointment another U.S. attorney or a Canadian
attorney/agent not currently associated with his/her company/firm previously represented the petitioner in
this matter: (1) the petitioner has filed or is concurrently filing a signed revocation of or substitute power
of attorney with the USPTO; (2) the USPTO has granted the request of the prior representative to
withdraw; (3) the petitioner has filed a power of attorney appointing him/her in this matter; or (4) the
petitioner's appointed U.S. attorney or Canadian attorney/agent has filed a power of attorney appointing
him/her as an associate attorney in this matter.


RAM Sale Number: 2624
RAM Accounting Date: 10/11/2013

Serial Number: 76246508
Internet Transmission Date:
TEAS Stamp: USPTO/PDR-10.112.151.171-201310101549148
85327-2789278-20131010153306313615-DA-26
24-20131010153306313615




                                                                                                    JDPI002930
Case 2:14-cv-02057-SMM   Document 224-4   Filed 10/19/17   Page 24 of 116




                                                                      JDPI002931
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                                                                      JDPI002932
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                                                                      JDPI002933
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                                                                      JDPI002934
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                                                                      JDPI002935
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PTO Form 2196 (Rev 9/2005)
OMB No. 0651-0056 (Exp 9/30/2017)


            Revocation of Attorney/Domestic Representative and/or
              Appointment of Attorney/Domestic Representative


                                    The table below presents the data as entered.

                             Input Field                                   Entered
         SERIAL NUMBER                             76246508
         REGISTRATION NUMBER                       2789278
         LAW OFFICE ASSIGNED                       LAW OFFICE 113
         MARK SECTION
                                                   JACK DANIEL'S OLD TIME OLD NO.7 BRAND
         MARK                                      QUALITY TENNESSEE SOUR MASH WHISKEY
                                                   (stylized and/or with design)
         ATTORNEY SECTION
                                                   David S. Gooder
                                                   08791
                                                   4040 CIVIC CENTER DR STE 528
         ORIGINAL ADDRESS
                                                   SAN RAFAEL California (CA) 94903-4191
                                                   US
                                                   415-446-5225
                                                   415-446-5230
                                                   jdpilegal@jdpi.com
         NEW ATTORNEY ADDRESS
                                                   By submission of this request, the undersigned
         STATEMENT TEXT
                                                   REVOKES the power of attorney currently of record,
                                                   as listed above, and hereby APPOINTS the following
                                                   new attorney.
         NAME                                      Christopher C. Larkin
         FIRM NAME                                 Seyfarth Shaw LLP
         STREET                                    2029 Century Park East, Suite 3500
         CITY                                      Los Angeles
         STATE                                     California
         COUNTRY                                   United States
         POSTAL/ZIP CODE                           90067-3021

                                                                                                   JDPI002936
Case 2:14-cv-02057-SMM    Document 224-4       Filed 10/19/17   Page 30 of 116


PHONE                        310-201-5289
FAX                          310-201-5219
EMAIL                        clarkin@seyfarth.com
ATTORNEY AUTHORIZED TO
COMMUNICATE VIA E-MAIL
                             YES

NEW CORRESPONDENCE ADDRESS
NAME                         David S. Gooder
FIRM NAME                    JACK DANIEL'S PROPERTIES, INC.
DOCKET/REFERENCE NUMBER      08791
STREET                       4040 CIVIC CENTER DR STE 528
CITY                         SAN RAFAEL
STATE                        California
COUNTRY                      United States
POSTAL/ZIP CODE              94903-4191
PHONE                        415-446-5225
FAX                          415-446-5230
EMAIL                        jdpilegal@jdpi.com
AUTHORIZED TO COMMUNICATE
VIA E-MAIL
                             YES

SIGNATURE SECTION
SIGNATURE                    /David S. Gooder/
SIGNATORY NAME               David S. Gooder
SIGNATORY DATE               10/09/2013
SIGNATORY POSITION           Chief Trademark Counsel
SIGNATORY PHONE NUMBER       415-446-5225
FILING INFORMATION SECTION
SUBMIT DATE                  Wed Oct 09 15:34:41 EDT 2013
                             USPTO/RAA-38.88.175.58-20
                             131009153441400553-762465
TEAS STAMP
                             08-50094828fe75f5e747fbd5
                             545cd73bf98f5052ff65ced4d
                             42d1948af4c6df7ee9d-N/A-N
                             /A-20131009152359198904


                                                                           JDPI002937
Case 2:14-cv-02057-SMM   Document 224-4   Filed 10/19/17   Page 31 of 116




                                                                      JDPI002938
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PTO Form 2196 (Rev 9/2005)
OMB No. 0651-0056 (Exp 9/30/2017)




            Revocation of Attorney/Domestic Representative and/or
              Appointment of Attorney/Domestic Representative
To the Commissioner for Trademarks:
MARK: JACK DANIEL'S OLD TIME OLD NO.7 BRAND QUALITY TENNESSEE SOUR MASH
WHISKEY (stylized and/or with design)
SERIAL NUMBER: 76246508
REGISTRATION NUMBER: 2789278

The original attorney
David S. Gooder
08791
4040 CIVIC CENTER DR STE 528
SAN RAFAEL California 94903-4191
US
415-446-5225
415-446-5230
jdpilegal@jdpi.com

Original Correspondence Address :
David S. Gooder
4040 CIVIC CENTER DR STE 528
SAN RAFAEL California 94903-4191
US
415-446-5225
415-446-5230
jdpilegal@jdpi.com


By submission of this request, the undersigned REVOKES the power of attorney currently of record, as
listed above, and hereby APPOINTS the following new attorney.

Newly Appointed Attorney:
Christopher C. Larkin
Seyfarth Shaw LLP
2029 Century Park East, Suite 3500
Los Angeles, California 90067-3021
United States
310-201-5289
310-201-5219
clarkin@seyfarth.com

The following is to be used as the correspondence address:
David S. Gooder
JACK DANIEL'S PROPERTIES, INC.

                                                                                             JDPI002939
      Case 2:14-cv-02057-SMM           Document 224-4      Filed 10/19/17   Page 33 of 116


4040 CIVIC CENTER DR STE 528
SAN RAFAEL, California 94903-4191
United States

415-446-5225
415-446-5230
jdpilegal@jdpi.com The attorney docket/reference number is 08791.



Signature: /David S. Gooder/     Date: 10/09/2013
Signatory's Name: David S. Gooder
Signatory's Position: Chief Trademark Counsel
Signatory's Phone Number: 415-446-5225

Serial Number: 76246508
Internet Transmission Date: Wed Oct 09 15:34:41 EDT 2013
TEAS Stamp: USPTO/RAA-38.88.175.58-20131009153441400
553-76246508-50094828fe75f5e747fbd5545cd
73bf98f5052ff65ced4d42d1948af4c6df7ee9d-
N/A-N/A-20131009152359198904




                                                                                       JDPI002940
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To:               Jack Daniel's Properties, Inc. (jdpilegal@jdpi.com)
Subject:          TRADEMARK REGISTRATION NO. 2789278 - JACK DANIEL'S OLD
                  TIME OLD NO.7 BRAND QU - 08791
Sent:             04/18/13 01:23:37 PM
Sent As:          PRG@uspto.gov
Attachments:

                UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
OFFICE ACTION (OFFICIAL LETTER) ABOUT REGISTRANT’S TRADEMARK REGISTRATION
   REGISTRATION NO.            2789278

   REGISTRANT:         Jack Daniel's Properties, Inc.
                                                                     76246508
   CORRESPONDENT’S ADDRESS :                                         CLICK HERE TO RESPOND TO THIS
           David S. Gooder                                           LETTER:
           JACK DANIEL'S PROPERTIES, INC.                            http://www.uspto.gov/teas/eTEASpageC.htm
           4040 CIVIC CENTER DR STE 528
           SAN RAFAEL CA 94903-4191

  MARK:        JACK DANIEL'S OLD TIME OLD NO.7 BRAND
 QU

   CORRESPONDENT’S REFERENCE/DOCKET NO.                     08791


   CORRESPONDENT’S EMAIL ADDRESS :
            jdpilegal@jdpi.com


                          POST REGISTRATION OFFICE ACTION

ISSUE/MAILING DATE: 4/18/2013
Registration Number 2789278

The Section 7 Amendment submitted on March 15, 2013 is not accepted for the reasons set forth below.

The proposed amendment to the mark would materially alter the character of the mark and thus cannot be
accepted. 15 U.S.C. §1057(e); 37 C.F.R. §2.173(d). A registered mark can be amended only if the change
does not alter the character and commercial impression of the mark, i.e., the change creates essentially the
same impression as the original mark. In re Umax Data System, Inc., 40 USPQ2d 1539 (Comm’r Pats.
1996); TMEP §1609.02(a).

The owner seeks to amend the mark in the registration from “JACK DANIEL'S OLD TIME OLD NO.7
BRAND QUALITY TENNESSEE SOUR MASH WHISKEY and design” to “ JACK DANIEL'S OLD
NO.7 BRAND TENNESSEE SOUR MASH WHISKEY and design”. The proposed amendment

                                                                                                 JDPI002941
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would result in a mark with a different visual impression from that of the original mark, i.e., the two marks
do not appear as essentially the same mark. Accordingly, the Section 7 Amendment is not accepted.

If you disagree with the above refusal of your Section 7 Amendment, you may file a petition
requesting review of this decision by the Director. The petition must be filed within six months from
the issuance date of this letter and must be accompanied by a fee of $100. 37 C.F.R. §§2.6,
2.146(a)(2) and 2.176.




                                              /MACY MA/
                                              MACY MA
                                              Trademark Specialist
                                              Post Registration Division
                                              Tel 571-272-9538
                                              Fax 571-273-9538



TO RESPOND TO THIS LETTER: Use the Trademark Electronic Application System (TEAS)
Response to Post-Registration Office action form at http://www.uspto.gov/teas/eTEASpageC.htm. Please
wait 48-72 hours from the issue/mailing date before using TEAS, to allow for necessary system updates of
the registration. For technical assistance with online forms, e-mail TEAS@uspto.gov.

WHO MUST SIGN THE RESPONSE: It must be personally signed by (1) an individual registrant; (2)
someone with legal authority to bind registrant (i.e., a corporate officer, a general partner, all joint
applicants); or (3) an authorized attorney, if one is appointed to represent registrant. If a registrant is
represented by an attorney, the attorney must sign the response.

CHECK THE STATUS OF THE REGISTRATION: To check the status of your registration at any
time, visit the Office’s Trademark Applications and Registrations Retrieval (TARR) system at
http://tarr.uspto.gov/. Please keep a copy of the complete TARR screen. For more information on
checking status, see http://www.uspto.gov/trademarks/process/status/.

TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the TEAS form at
http://www.uspto.gov/teas/eTEASpageE.htm.

FOR INQUIRIES OR QUESTIONS ABOUT THIS OFFICE ACTION, PLEASE CONTACT THE
ASSIGNED SPECIALIST.




                                                                                                  JDPI002942
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To:              Jack Daniel's Properties, Inc. (jdpilegal@jdpi.com)
Subject:         TRADEMARK REGISTRATION NO. 2789278 - JACK DANIEL'S OLD
                 TIME OLD NO.7 BRAND QU - 08791
Sent:            04/18/13 01:23:37 PM
Sent As:         PRG@uspto.gov
Attachments:



                                 IMPORTANT NOTICE
                   USPTO OFFICE ACTION HAS ISSUED ON 04/18/2013 FOR
                              REGISTRATION NO. 2789278

Please follow the instructions below to continue the examination of your post registration filing:
VIEW OFFICE ACTION: Click on this link
http://tmportal.uspto.gov/external/portal/tow?DDA=Y&serial_number=76246508&doc_type=OOA&mail_date=20130
(or copy and paste this URL into the address field of your browser), or visit
http://tmportal.uspto.gov/external/portal/tow and enter the registration number to access the Office action.
PLEASE NOTE: The Office action may not be immediately available but will be viewable within 24
hours of this notification.
RESPONSE MAY BE REQUIRED: You should carefully review the Office action to determine (1) if a
response is required, (2) how to respond and (3) the applicable response time period your response
deadline will be calculated from.
Do NOT hit 'Reply' to this e-mail notification, or otherwise attempt to e-mail your response, as the
USPTO does NOT accept e-mailed responses. Instead, the USPTO recommends that you respond
online using the Trademark Electronic Application System response form at
http://www.uspto.gov/teas/eTEASpageD.htm.
HELP: For technical assistance in accessing the Office action, please e-mail TDR@uspto.gov. Please
contact the assigned examiner with questions about the Office action.
                                                WARNING

1. The USPTO will NOT send a separate e-mail with the Office action attached.
2. Failure to file any required response by the applicable deadline may result in the cancellation
and/or expiration of your registration.




                                                                                             JDPI002943
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                                                                      JDPI002944
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PTO Form 1597 (Rev 11/2007)
OMB No. 0651-0055 (Exp. 07/31/2015)


                                             Section 7 Request Form


                                      The table below presents the data as entered.

                        Input Field                                           Entered
 REGISTRATION NUMBER                                2789278
 LAW OFFICE ASSIGNED                                LAW OFFICE 113
 SERIAL NUMBER                                      76246508
 MARK SECTION (current)
 STANDARD CHARACTERS                                NO
 USPTO-GENERATED IMAGE                              NO
 LITERAL ELEMENT                                    JACK DANIEL'S OLD TIME OLD NO.7 BRAND QU
                                                    The mark consists of the claims the color white on black
 DESCRIPTION OF THE MARK                            shown in the mark as a feature of the mark. The color black
 (and Color Location, if applicable)                appears in the background and the color white appears in the
                                                    text and graphics in the mark as shown..
 MARK SECTION (proposed)
                                                    \\TICRS\EXPORT16\IMAGEOUT
 MARK FILE NAME
                                                    16\762\465\76246508\xml1\ S7R0002.JPG
 STANDARD CHARACTERS                                NO
 USPTO-GENERATED IMAGE                              NO
                                                    JACK DANIEL'S OLD NO.7 BRAND TENNESSEE SOUR
 LITERAL ELEMENT
                                                    MASH WHISKEY
 COLOR MARK                                         NO
                                                    The mark consists of the stylized wording JACK DANIEL'S
 DESCRIPTION OF THE MARK                            OLD NO. 7 BRAND TENNESSEE SOUR MASH
 (and Color Location, if applicable)                WHISKEY and an oval shaped design in the center with a
                                                    filigree appearing around the border.
 PIXEL COUNT ACCEPTABLE                             YES
 PIXEL COUNT                                        446 x 250

      SPECIMEN                                      \\TICRS\EXPORT16\IMAGEOUT
      FILE NAME(S)                                  16\762\465\76246508\xml1\ S7R0003.JPG


                                                                                                        JDPI002945
       Case 2:14-cv-02057-SMM          Document 224-4         Filed 10/19/17     Page 39 of 116


                                          Digital image of the bottle clearly showing the mark and
                                          containing the goods in International Class 33 The attached
   SPECIMEN DESCRIPTION
                                          specimen was in use in commerce on or before the filing date
                                          of this request.
OWNER SECTION (current)
NAME                                      Jack Daniel's Properties, Inc.
STREET                                    4040 Civic Center Drive, Suite 528
CITY                                      San Rafael
STATE                                     California
ZIP/POSTAL CODE                           94903
COUNTRY                                   United States
OWNER SECTION (proposed)
NAME                                      Jack Daniel's Properties, Inc.
STREET                                    4040 Civic Center Drive, Suite 528
CITY                                      San Rafael
STATE                                     California
ZIP/POSTAL CODE                           94903
COUNTRY                                   United States
PHONE                                     415-446-5225
FAX                                       415-446-5230
EMAIL                                     jdpilegal@jdpi.com
AUTHORIZED TO COMMUNICATE VIA E-
MAIL
                                          Yes

LEGAL ENTITY SECTION (current)
TYPE                                      corporation
STATE/COUNTRY OF INCORPORATION            Delaware
EXPLANATION OF FILING
Registrant, Jack Daniel's Properties, Inc., ("Registrant") hereby requests the amendment of Registration
No. 2,789,278 to show the mark therein in the form shown in the accompanying drawing.

Registrant requests the amendment to bring the registration into conformity with how the mark is
currently used in commerce. Registrant submits that the amendment of the mark will not materially
alter the mark since the overall commercial impression is the same. The mark as originally registered
included the words “QUALITY” and “OLD TIME”. The current use of the mark does not include the
words “QUALITY” or “OLD TIME.” Registrant believes that the words “QUALITY” and “OLD


                                                                                                JDPI002946
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TIME” are not source identifying characteristics of the mark. Registrant disclaimed “QUALITY” in
the original registration. Additionally, Registrant believes that the words “QUALITY” and “OLD
TIME” do not make up the essence of the mark. An amendment of a registered mark is acceptable if
the modified mark contains the essence of the original mark (i.e., the mark as originally registered), and
the mark as amended creates essentially the same impression as the original mark. In re Umax Data
System, Inc. , 40 USPQ2d 1539 (Comm’r Pats. 1996).

In support of this application for amendment, Registrant has submitted the required fee, a specimen of
use of the attached mark, and the attached supporting declaration of Jack Daniel's Properties, Inc.

Registrant respectfully requests that this application be granted and that the Patent and Trademark
Office issue an amended certificate of registration.
ADDITIONAL STATEMENTS SECTION
                                           "No claim is made to the exclusive right to use BRAND
DISCLAIMER                                 TENNESSEE SOUR MASH WHISKEY apart from the mark
                                           as shown"
ATTORNEY SECTION
                                           DAVID S. GOODER
                                           JACK DANIEL'S PROPERTIES, INC.
                                           4040 CIVIC CENTER DR STE 528
ORIGINAL ADDRESS                           SAN RAFAEL
                                           California (CA)
                                           United States (USX)
                                           94903-4191
NEW ATTORNEY SECTION
NAME                                       David S. Gooder
FIRM NAME                                  Jack Daniel's Properties, Inc.
STREET                                     4040 CIVIC CENTER DR STE 528
CITY                                       SAN RAFAEL
STATE                                      California
ZIP/POSTAL CODE                            94903-4191
COUNTRY                                    United States
PHONE                                      415-446-5225
FAX                                        415-446-5230
EMAIL                                      jdpilegal@jdpi.com
AUTHORIZED EMAIL COMMUNICATION             Yes
CORRESPONDENCE SECTION
                                           DAVID S. GOODER


                                                                                                 JDPI002947
       Case 2:14-cv-02057-SMM      Document 224-4          Filed 10/19/17   Page 41 of 116


                                       JACK DANIEL'S PROPERTIES, INC.
                                       4040 CIVIC CENTER DR STE 528
ORIGINAL ADDRESS                       SAN RAFAEL
                                       California (CA)
                                       United States (USX)
                                       94903-4191
NEW CORRESPONDENCE SECTION
NAME                                   David S. Gooder
FIRM NAME                              Jack Daniel's Properties, Inc.
STREET                                 4040 CIVIC CENTER DR STE 528
CITY                                   SAN RAFAEL
STATE                                  California
ZIP/POSTAL CODE                        94903-4191
COUNTRY                                United States
PHONE                                  415-446-5225
FAX                                    415-446-5230
EMAIL                                  jdpilegal@jdpi.com
AUTHORIZED EMAIL COMMUNICATION         Yes
PAYMENT SECTION
TOTAL AMOUNT                           100
TOTAL FEES DUE                         100
SIGNATURE SECTION
DECLARATION SIGNATURE                  /David S. Gooder/
SIGNATORY'S NAME                       David S. Gooder
SIGNATORY'S POSITION                   Chief Trademark Counsel
DATE SIGNED                            03/15/2013
REQUEST SIGNATURE                      /David S. Gooder/
SIGNATORY'S NAME                       David S. Gooder
SIGNATORY'S POSITION                   Chief Trademark Counsel
DATE SIGNED                            03/15/2013
AUTHORIZED SIGNATORY                   YES
CONCURRENT § 8, 8 &15, OR 8 &9 FILED   NO
FILING INFORMATION SECTION

                                                                                       JDPI002948
          Case 2:14-cv-02057-SMM        Document 224-4         Filed 10/19/17      Page 42 of 116


 SUBMIT DATE                                Fri Mar 15 15:59:56 EDT 2013
                                            USPTO/S7R-12.154.100.33-2
                                            0130315155956031657-27892
                                            78-5006eebe28384a11e7b4a2
 TEAS STAMP
                                            5a791dbcbe452841e5d4b3fa9
                                            d0f124c7cc33c757e7-DA-785
                                            6-20130315142803456405




PTO Form 1597 (Rev 11/2007)
OMB No. 0651-0055 (Exp. 07/31/2015)




                            Section 7 Request Form
To the Commissioner for Trademarks:

The registrant requests the following amendment(s) to registration no. 2789278

MARK
Registrant proposes to amend the mark as follows:
Current: JACK DANIEL'S OLD TIME OLD NO.7 BRAND QU (Stylized and/or with Design)
The mark consists of the claims the color white on black shown in the mark as a feature of the mark. The
color black appears in the background and the color white appears in the text and graphics in the mark as
shown..

Proposed: JACK DANIEL'S OLD NO.7 BRAND TENNESSEE SOUR MASH WHISKEY (Stylized
and/or with Design, see mark)

The registrant is not claiming color as a feature of the mark. The mark consists of the stylized wording
JACK DANIEL'S OLD NO. 7 BRAND TENNESSEE SOUR MASH WHISKEY and an oval shaped
design in the center with a filigree appearing around the border.

Registrant hereby submits a specimen for the mark that was in use in commerce on or before the filing
date of this request. The specimen(s) submitted consists of Digital image of the bottle clearly showing the
mark and containing the goods in International Class 33.
Specimen File1

EXPLANATION OF FILING

Registrant, Jack Daniel's Properties, Inc., ("Registrant") hereby requests the amendment of Registration
No. 2,789,278 to show the mark therein in the form shown in the accompanying drawing.

Registrant requests the amendment to bring the registration into conformity with how the mark is currently
used in commerce. Registrant submits that the amendment of the mark will not materially alter the mark
since the overall commercial impression is the same. The mark as originally registered included the words
“QUALITY” and “OLD TIME”. The current use of the mark does not include the words “QUALITY”

                                                                                                  JDPI002949
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or “OLD TIME.” Registrant believes that the words “QUALITY” and “OLD TIME” are not source
identifying characteristics of the mark. Registrant disclaimed “QUALITY” in the original registration.
Additionally, Registrant believes that the words “QUALITY” and “OLD TIME” do not make up the
essence of the mark. An amendment of a registered mark is acceptable if the modified mark contains the
essence of the original mark (i.e., the mark as originally registered), and the mark as amended creates
essentially the same impression as the original mark. In re Umax Data System, Inc. , 40 USPQ2d 1539
(Comm’r Pats. 1996).

In support of this application for amendment, Registrant has submitted the required fee, a specimen of use
of the attached mark, and the attached supporting declaration of Jack Daniel's Properties, Inc.

Registrant respectfully requests that this application be granted and that the Patent and Trademark Office
issue an amended certificate of registration.



OWNER AND/OR ENTITY INFORMATION
Registrant proposes to amend the following:
Current: Jack Daniel's Properties, Inc., a corporation of Delaware, having an address of
   4040 Civic Center Drive, Suite 528
   San Rafael, California 94903
   United States
Proposed: Jack Daniel's Properties, Inc., a corporation of Delaware, having an address of

   4040 Civic Center Drive, Suite 528
   San Rafael, California 94903
   United States
   jdpilegal@jdpi.com
   415-446-5225
   415-446-5230


ATTORNEY INFORMATION
Registrant proposes to amend the following:
Current: DAVID S. GOODER JACK DANIEL'S PROPERTIES, INC. 4040 CIVIC CENTER DR STE
528 SAN RAFAEL California (CA) United States (USX) 94903-4191
Proposed: David S. Gooder of Jack Daniel's Properties, Inc., having an address of 4040 CIVIC CENTER
DR STE 528 SAN RAFAEL, California United States 94903-4191, whose e-mail address is
jdpilegal@jdpi.com, whose phone number is 415-446-5225 and whose fax number is 415-446-5230.


CORRESPONDENCE ADDRESS CHANGE
Registrant proposes to amend the following:
Current: DAVID S. GOODER JACK DANIEL'S PROPERTIES, INC. 4040 CIVIC CENTER DR STE
528 SAN RAFAEL California (CA) United States (USX) 94903-4191
Proposed: David S. Gooder of Jack Daniel's Properties, Inc., having an address of 4040 CIVIC CENTER
DR STE 528 SAN RAFAEL, California United States 94903-4191, whose e-mail address is
jdpilegal@jdpi.com, whose phone number is 415-446-5225 and whose fax number is 415-446-5230.

ADDITIONAL STATEMENTS

                                                                                                 JDPI002950
       Case 2:14-cv-02057-SMM            Document 224-4          Filed 10/19/17      Page 44 of 116


Disclaimer
"No claim is made to the exclusive right to use BRAND TENNESSEE SOUR MASH WHISKEY apart
from the mark as shown"

FEE(S)
Fee(s) in the amount of $100 is being submitted.

SIGNATURE(S)
Declaration Signature
The undersigned, being hereby warned that willful false statements and the like so made are punishable by
fine or imprisonment, or both, under 18 U.S.C. §1001, and that such willful false statements may
jeopardize the validity of the application or document or any resulting registration, declares that all
statements made of his/her own knowledge are true; and all statements made on information and belief are
believed to be true.

Signature: /David S. Gooder/     Date: 03/15/2013
Signatory's Name: David S. Gooder
Signatory's Position: Chief Trademark Counsel
Signatory's Phone: 415-446-5225

Request Signature
Signature: /David S. Gooder/ Date: 03/15/2013
Signatory's Name: David S. Gooder
Signatory's Position: Chief Trademark Counsel

Signatory's Phone: 415-446-5225

The signatory has confirmed that he/she is an attorney who is a member in good standing of the bar of the
highest court of a U.S. state, which includes the District of Columbia, Puerto Rico, and other federal
territories and possessions; and he/she is currently the registrant's attorney or an associate thereof; and to
the best of his/her knowledge, if prior to his/her appointment another U.S. attorney or a Canadian
attorney/agent not currently associated with his/her company/firm previously represented the registrant in
this matter: (1) the registrant has filed or is concurrently filing a signed revocation of or substitute power
of attorney with the USPTO; (2) the USPTO has granted the request of the prior representative to
withdraw; (3) the registrant has filed a power of attorney appointing him/her in this matter; or (4) the
registrant's appointed U.S. attorney or Canadian attorney/agent has filed a power of attorney appointing
him/her as an associate attorney in this matter.

The registrant is NOT filing a Declaration of Use of Mark under Section 8; a Combined Declaration of
Use of Mark under Sections 8 & 15; or a Combined Declaration of Use of Mark/Application for Renewal
of Registration of Mark under Sections 8 & 9 in conjunction with this Section 7 Request.

Mailing Address: David S. Gooder
 Jack Daniel's Properties, Inc.
 4040 CIVIC CENTER DR STE 528
 SAN RAFAEL, California 94903-4191

RAM Sale Number: 2789278
RAM Accounting Date: 03/18/2013


                                                                                                    JDPI002951
      Case 2:14-cv-02057-SMM       Document 224-4      Filed 10/19/17   Page 45 of 116


Serial Number: 76246508
Internet Transmission Date: Fri Mar 15 15:59:56 EDT 2013
TEAS Stamp: USPTO/S7R-12.154.100.33-2013031515595603
1657-2789278-5006eebe28384a11e7b4a25a791
dbcbe452841e5d4b3fa9d0f124c7cc33c757e7-D
A-7856-20130315142803456405




                                                                                   JDPI002952
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                                                                      JDPI002953
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                                                                      JDPI002954
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                                                                      JDPI002955
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                                                                      JDPI002956
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                                                                      JDPI002957
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                  UNITED STATES PATENT AND TRADEMARK OFFICE

                                                                                      Commissioner for Trademarks
                                                                                                    P.O. Box 1451
                                                                                       Alexandria, VA 22313-1451
                                                                                                    www.uspto.gov


REGISTRATION NO: 2789278    SERIAL NO: 76/246508   MAILING DATE: 12/07/2009
REGISTRATION DATE: 12/02/2003
MARK: JACK DANIEL'S OLD TIME OLD NO.7 BRAND QU ETC.
REGISTRATION OWNER: Jack Daniel's Properties, Inc.

CORRESPONDENCE ADDRESS:

David S. Gooder
JACK DANIEL'S PROPERTIES, INC.
4040 CIVIC CENTER DR STE 528
SAN RAFAEL CA 94903-4191


                             NOTICE OF ACCEPTANCE
                                        15 U.S.C. Sec. 1058(a)(1)

THE COMBINED AFFIDAVIT FILED FOR THE ABOVE-IDENTIFIED REGISTRATION MEETS THE REQUIREMENTS OF
SECTION 8 OF THE TRADEMARK ACT, 15 U.S.C. Sec. 1058.

ACCORDINGLY, THE SECTION 8 AFFIDAVIT IS ACCEPTED.

                                 ***********************************************

                    NOTICE OF ACKNOWLEDGEMENT
                                           15 U.S.C. Sec. 1065

THE AFFIDAVIT FILED FOR THE ABOVE-IDENTIFIED REGISTRATION MEETS THE REQUIREMENTS OF SECTION 15 OF
THE TRADEMARK ACT, 15 U.S.C. Sec. 1065.

ACCORDINGLY, THE SECTION 15 AFFIDAVIT IS ACKNOWLEDGED.

                                 ***********************************************

THE REGISTRATION WILL REMAIN IN FORCE FOR CLASS(ES):
033.


PARALEGAL SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500


                   PLEASE SEE THE REVERSE SIDE OF THIS NOTICE FOR INFORMATION
                   CONCERNING REQUIREMENTS FOR MAINTAINING THIS REGISTRATION
                                           ORIGINAL




                                                                                                      JDPI002958
        Case 2:14-cv-02057-SMM                     Document 224-4               Filed 10/19/17            Page 52 of 116




REQUIREMENTS FOR MAINTAINING A FEDERAL TRADEMARK REGISTRATION

I) SECTION 8: AFFIDAVIT OF CONTINUED USE

The registration shall remain in force for 10 years, except that the registration shall be canceled for failure to file an Affidavit of
Continued Use under Section 8 of the Trademark Act, 15 U.S.C. Sec. 1058, at the end of each successive 10-year period
following the date of registration.

Failure to file the Section 8 Affidavit will result in the cancellation of the registration.



II) SECTION 9: APPLICATION FOR RENEWAL

The registration shall remain in force for 10 years, subject to the provisions of Section 8, except that the registration shall expire
for failure to file an Application for Renewal under Section 9 of the Trademark Act, 15 U.S.C. Sec. 1059, at the end of each
successive 10-year period following the date of registration.

Failure to file the Application for Renewal will result in the expiration of the registration.




NO FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS WILL BE SENT TO THE REGISTRANT BY THE
PATENT AND TRADEMARK OFFICE. IT IS RECOMMENDED THAT THE REGISTRANT CONTACT THE PATENT AND
TRADEMARK OFFICE APPROXIMATELY ONE YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN
ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.




                                                                                                                             JDPI002959
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PTO Form 1583 (Rev 5/2006)
OMB No. 0651-0055 (Exp 12/31/2011)


Combined Declaration of Use and Incontestability under Sections
                           8 & 15


                                     The table below presents the data as entered.

                             Input Field                                    Entered
         REGISTRATION NUMBER                        2789278
         REGISTRATION DATE                          12/02/2003
         SERIAL NUMBER                              76246508
         MARK SECTION
                                                    JACK DANIEL'S OLD TIME OLD NO.7 BRAND
         MARK
                                                    QU (stylized and/or with design)
         OWNER SECTION (current)
         NAME                                       Jack Daniel's Properties, Inc.
         STREET                                     4040 Civic Center Drive, Suite 528
         CITY                                       San Rafael
         STATE                                      California
         ZIP/POSTAL CODE                            94903
         COUNTRY                                    United States
         OWNER SECTION (proposed)
         NAME                                       Jack Daniel's Properties, Inc.
         STREET                                     4040 Civic Center Drive, Suite 528
         CITY                                       San Rafael
         STATE                                      California
         ZIP/POSTAL CODE                            94903
         COUNTRY                                    United States
         PHONE                                      415-446-5225
         FAX                                        415-446-5230
         EMAIL                                      jdpilegal@jdpi.com
         AUTHORIZED TO COMMUNICATE

                                                                                                    JDPI002960
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VIA E-MAIL
                              Yes

ATTORNEY SECTION (current)
NAME                          David S. Gooder
FIRM NAME                     JACK DANIEL'S PROPERTIES, INC.
STREET                        4040 CIVIC CENTER DR STE 528
CITY                          SAN RAFAEL
STATE                         California
POSTAL CODE                   94903-4191
COUNTRY                       United States
ATTORNEY SECTION (proposed)
NAME                          David S. Gooder
FIRM NAME                     JACK DANIEL'S PROPERTIES, INC.
STREET                        4040 CIVIC CENTER DR STE 528
CITY                          SAN RAFAEL
STATE                         California
POSTAL CODE                   94903-4191
COUNTRY                       United States
PHONE                         415-446-5225
FAX                           415-446-5230
EMAIL                         jdpilegal@jdpi.com
AUTHORIZED TO COMMUNICATE
VIA E-MAIL
                              Yes

ATTORNEY DOCKET NUMBER        08791
GOODS AND/OR SERVICES SECTION
INTERNATIONAL CLASS           033
GOODS OR SERVICES             KEEP ALL LISTED
                              \\TICRS\EXPORT8\IMAGEOUT8
SPECIMEN FILE NAME(S)
                              \762\465\76246508\xml1\81 50002.JPG

                              Digital image of bottle of Tennessee Sour Mash
SPECIMEN DESCRIPTION
                              Whiskey, showing mark in use
PAYMENT SECTION
NUMBER OF CLASSES             1

                                                                               JDPI002961
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NUMBER OF CLASSES PAID      1
SUBTOTAL AMOUNT             300
TOTAL FEE PAID              300
SIGNATURE SECTION
SIGNATURE                   /David S. Gooder/
SIGNATORY'S NAME            David S. Gooder
SIGNATORY'S POSITION        Chief Trademark Counsel
DATE SIGNED                 11/24/2009
PAYMENT METHOD              DA
                         FILING INFORMATION
SUBMIT DATE                 Tue Nov 24 16:22:33 EST 2009
                            USPTO/S08N15-12.154.100.5
                            9-20091124162233523410-27
TEAS STAMP                  89278-460b7f1263ca189e182
                            e5c3ec7cde6f53-DA-3165-20
                            091124160329048364




                                                                          JDPI002962
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PTO Form 1583 (Rev 5/2006)
OMB No. 0651-0055 (Exp 12/31/2011)




     Combined Declaration of Use and Incontestability under Sections 8 & 15
To the Commissioner for Trademarks:
REGISTRATION NUMBER: 2789278
REGISTRATION DATE: 12/02/2003

MARK: JACK DANIEL'S OLD TIME OLD NO.7 BRAND QU (stylized and/or with design)

The owner, Jack Daniel's Properties, Inc., having an address of
     4040 Civic Center Drive, Suite 528
     San Rafael, California 94903
     United States
is filing a Combined Declaration of Use and Incontestability under Sections 8 & 15.

For International Class 033, the mark is in use in commerce on or in connection with all of the goods or
services listed in the existing registration for this specific class; and the mark has been continuously used
in commerce for five (5) consecutive years after the date of registration, or the date of publication under
Section 12(c), and is still in use in commerce on or in connection with all goods or services listed in the
existing registration for this class. Also, no final decision adverse to the owner's claim of ownership of
such mark for those goods or services exists, or to the owner's right to register the same or to keep the
same on the register; and, no proceeding involving said rights pending and not disposed of in either the
U.S. Patent and Trademark Office or the courts exists.

The owner is submitting one specimen for this class showing the mark as used in commerce on or in
connection with any item in this class, consisting of a(n) Digital image of bottle of Tennessee Sour Mash
Whiskey, showing mark in use.
Specimen File1

The registrant hereby appoints David S. Gooder of JACK DANIEL'S PROPERTIES, INC.
     4040 CIVIC CENTER DR STE 528
     SAN RAFAEL, California 94903-4191
      United States
to file this Combined Declaration of Use and Incontestability under Sections 8 & 15 on behalf of the
registrant. The attorney docket/reference number is 08791.

A fee payment in the amount of $300 will be submitted with the form, representing payment for 1
class(es), plus any additional grace period fee, if necessary.

                                                Declaration


The mark is in use in commerce on or in connection with the goods and/or services identified above, as
evidenced by the attached specimen(s) showing the mark as used in commerce. The mark has been in
continuous use in commerce for five (5) consecutive years after the date of registration, or the date of


                                                                                                    JDPI002963
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publication under Section 12(c), and is still in use in commerce. There has been no final decision adverse
to the owner's claim of ownership of such mark, or to the owner's right to register the same or to keep the
same on the register; and there is no proceeding involving said rights pending and not disposed of either
in the U.S. Patent and Trademark Office or in the courts.

The undersigned being hereby warned that willful false statements and the like are punishable by fine or
imprisonment, or both, under 18 U.S.C. Section 1001, and that such willful false statements and the like
may jeopardize the validity of this document, declares that he/she is properly authorized to execute this
document on behalf of the Owner; and all statements made of his/her own knowledge are true and that all
statements made on information and belief are believed to be true.


Signature: /David S. Gooder/     Date: 11/24/2009
Signatory's Name: David S. Gooder
Signatory's Position: Chief Trademark Counsel

Mailing Address (current):
 JACK DANIEL'S PROPERTIES, INC.
 4040 CIVIC CENTER DR STE 528
 SAN RAFAEL, California 94903-4191

Mailing Address (proposed):
 JACK DANIEL'S PROPERTIES, INC.
 4040 CIVIC CENTER DR STE 528
 SAN RAFAEL, California 94903-4191

Serial Number: 76246508
Internet Transmission Date: Tue Nov 24 16:22:33 EST 2009
TEAS Stamp: USPTO/S08N15-12.154.100.59-2009112416223
3523410-2789278-460b7f1263ca189e182e5c3e
c7cde6f53-DA-3165-20091124160329048364




                                                                                                  JDPI002964
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                                                                      JDPI002965
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                                                                      JDPI002966
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                                                                      JDPI002967
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                                                                      JDPI002968
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                                                                                                    Commissioner for Trademarks
                                                                                                               2900 Crystal Drive
                                                                                                      Arlington, VA 22202-3514
                                                                                                                  www.uspto.gov



                     NOTICE OF ACCEPTANCE OF STATEMENT OF USE

                                                       Oct 21, 2003
                                                                      TM13                            ATTORNEY
      DAVID S. GOODER                                                                           REFERENCE NUMBER:
      JACK DANIEL'S PROPERTIES, INC.
      4040 CIVIC CENTER DR STE 528                                                                        8791
      SAN RAFAEL CA 94903-4191


SERIAL NUMBER:                     76/246508
MARK:                              JACK DANIEL'S OLD TIME OLD NO.7 BRAND QU
OWNER:                             Jack Daniel's Properties, Inc.



The Statement of Use (SOU) filed for the trademark application identified above has been accepted. This acceptance means
that the mark will register and the registration certificate will issue in due course barring any extraordinary circumstances.

For further information please check the USPTO web site at www.uspto.gov or call the Trademark Assistance Center at 703-
308-9000.




                                                                                                                     JDPI002969
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                                                                      JDPI002970
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                                                                      JDPI002971
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                                                                      JDPI002972
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                                                                      JDPI002973
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                                                                      JDPI002974
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                                                                      JDPI002975
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                                                                      JDPI002976
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                                                                      JDPI002977
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                                                                      JDPI002978
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                                                                      JDPI002979
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                                                                      JDPI002980
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PTO Form 1553 (Rev 4/2000)
OMB Control #0651-0009 (Exp. 06/30/2005)


                                                  Statement of Use Filing


                                           The table below presents the data as entered.

                              Input Field                                         Entered
         SERIAL NUMBER                                    76246508
         LAW OFFICE ASSIGNED                              LAW OFFICE 113
         NOTICE OF ALLOWANCE                              YES
         EXTENSION OF USE                                 NO
         MARK SECTION
                                                          JACK DANIEL'S OLD TIME OLD NO.7 BRAND
         MARK                                             QUALITY TENNESSEE SOUR MASH WHISKEY
                                                          (stylized and/or with design)
         DESIGN MARK FILE NAME(S)                         http://tess2.uspto.gov/we baka/images/76246508.gif

         OWNER SECTION (current)
         NAME                                             Jack Daniel's Properties, Inc.
         STREET                                           4040 Civic Center Drive Suite 528
         CITY                                             San Rafael
         STATE                                            CA
         ZIP/POSTAL CODE                                  94903
         COUNTRY                                          US
         EMAIL                                            david_gooder@jdpi.com
         OWNER AUTHORIZED TO
         COMMUNICATE VIA E-MAIL
                                                          Yes

         OWNER SECTION (proposed)
         NAME                                             Jack Daniel's Properties, Inc.
         STREET                                           4040 Civic Center Drive Suite 528
         CITY                                             San Rafael
         STATE                                            CA
         ZIP/POSTAL CODE                                  94903


                                                                                                           JDPI002981
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COUNTRY                         US
PHONE                           415 446 5225
FAX                             415 446 5230
EMAIL                           david_gooder@jdpi.com
OWNER AUTHORIZED TO
COMMUNICATE VIA E-MAIL
                                Yes

ATTORNEY SECTION
NAME                            David S. Gooder
FIRM NAME                       Jack Daniel's Properties, Inc.
STREET                          4040 Civic Center Drive, Suite 528
CITY                            San Rafael
STATE                           CA
ZIP/POSTAL CODE                 94903
COUNTRY                         USA
PHONE                           415 446 5225
FAX                             415 446 5230
EMAIL                           david_gooder@jdpi.com
AUTHORIZED TO COMMUNICATE VIA
E-MAIL
                                Yes

DOCKET NUMBER                   8791
OTHER APPOINTED ATTORNEY        Christopher C. Larkin
GOODS AND/OR SERVICES SECTION
INTERNATIONAL CLASS             033
KEEP EXISTING GOODS AND/OR
SERVICES
                                YES

FIRST USE ANYWHERE DATE         12/31/1991
FIRST USE IN COMMERCE DATE      12/31/1991
                                \\ticrs\EXPORT6\IMAGEOUT6
SPECIMEN FILE NAME(S)
                                \762\465\76246508\xml1\SO U0002.JPG

                                Digital photograph of the bottle containing the goods
SPECIMEN DESCRIPTION
                                and clearly showing the mark
PAYMENT SECTION
NUMBER OF CLASSES               1


                                                                                   JDPI002982
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SUBTOTAL AMOUNT             100
TOTAL AMOUNT                100
SIGNATURE SECTION
SIGNATURE                   /David S. Gooder/
SIGNATORY NAME              David S. Gooder
SIGNATORY DATE              08/06/2003
SIGNATORY POSITION          Vice President & Chief Trademark Counsel
FILING INFORMATION
SUBMIT DATE                 Wed Aug 06 14:16:53 EDT 2003
                            USPTO/SOU-172.30.230.5-20
                            030806141653145039-762465
TEAS STAMP                  08-20046c4d1c4ef2f1fd47a8
                            7942c242e6c9-RAM-1005-200
                            30806141220583310




                                                                          JDPI002983
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PTO Form 1553 (Rev 4/2000)
OMB Control #0651-0009 (Exp. 06/30/2005)




                                           Trademark/Service Mark Statement of Use
                                                 (15 U.S.C. Section 1051(d))
To the Commissioner for Trademarks:

MARK: JACK DANIEL'S OLD TIME OLD NO.7 BRAND QUALITY TENNESSEE SOUR MASH
WHISKEY (stylized and/or with design)
SERIAL NUMBER: 76246508

This Allegation of Use is being filed after a Notice of Allowance has issued.

The applicant, Jack Daniel's Properties, Inc., residing at 4040 Civic Center Drive Suite 528, San Rafael,
CA US 94903, is using or is using through a related company or licensee the mark in commerce on or in
connection with the goods and/or services as follows:

For International Class: 033, the applicant, or the applicant's related company or licensee, is using the
mark in commerce on or in connection with all goods and/or services listed in the application or Notice of
Allowance.
The mark was first used by the applicant, or the applicant's related company, licensee, or predecessor in
interest at least as early as 12/31/1991, and first used in commerce at least as early as 12/31/1991, and is
now in use in such commerce. The applicant is submitting one specimen for the class showing the mark as
used in commerce on or in connection with any item in the class, consisting of a(n) Digital photograph of
the bottle containing the goods and clearly showing the mark.
Specimen-1

The applicant hereby appoints David S. Gooder and Christopher C. Larkin of Jack Daniel's Properties,
Inc., 4040 Civic Center Drive, Suite 528, San Rafael, CA USA 94903 to submit this Statement of Use
Filing on behalf of the applicant. The attorney docket/reference number is 8791.

A fee payment in the amount of $100 will be submitted with the form, representing payment for 1 class.


                                                          Declaration

Applicant requests registration of the above-identified trademark/service mark in the United States Patent
and Trademark Office on the Principal Register established by the Act of July 5, 1946 (15 U.S.C. Section
1051 et seq., as amended). Applicant is the owner of the mark sought to be registered, and is using the
mark in commerce on or in connection with the goods/services identified above, as evidenced by the
attached specimen(s) showing the mark as used in commerce.

The undersigned being hereby warned that willful false statements and the like are punishable by fine or
imprisonment, or both, under 18 U.S.C. Section 1001, and that such willful false statements and the like
may jeopardize the validity of this document, declares that he/she is properly authorized to execute this
document on behalf of the Owner; and all statements made of his/her own knowledge are true and that all
statements made on information and belief are believed to be true.


                                                                                                    JDPI002984
      Case 2:14-cv-02057-SMM          Document 224-4       Filed 10/19/17   Page 78 of 116



Signature: /David S. Gooder/     Date: 08/06/2003
Signatory's Name: David S. Gooder
Signatory's Position: Vice President & Chief Trademark Counsel

Mailing Address:
 Jack Daniel's Properties, Inc.
 4040 Civic Center Drive, Suite 528
 San Rafael, CA 94903

RAM Sale Number: 1005
RAM Accounting Date: 08/06/2003

Serial Number: 76246508
Internet Transmission Date: Wed Aug 06 14:16:53 EDT 2003
TEAS Stamp: USPTO/SOU-172.30.230.5-20030806141653145
039-76246508-20046c4d1c4ef2f1fd47a87942c
242e6c9-RAM-1005-20030806141220583310




                                                                                       JDPI002985
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                                                                      JDPI002986
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                                                                      JDPI002987
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                                                                      JDPI002988
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                                      U.S. Patent and Trademark Office (PTO)

                                       NOTICE OF ALLOWANCE
        NOTE: If any data on this notice is incorrect, please fax a request for correction to the Intent to Use Unit at 571-273-9550. Please
        include the serial number of your application on ALL correspondence with the USPTO.


                                                           ISSUE DATE: Jul 15, 2003

        DAVID S. GOODER                                                                                    ATTORNEY
        JACK DANIEL'S PROPERTIES, INC.                                                                 REFERENCE NUMBER
        4040 CIVIC CENTER DR STE 528
        SAN RAFAEL CA 94903-4191                                                                                 8791



                           ** IMPORTANT INFORMATION: 6 MONTH DEADLINE **

 You filed the trademark application identified below based upon a bona fide intention to use the mark in commerce. You
 must use the mark in commerce and file a Statement of Use (a.k.a. Allegation of Use) before the USPTO will register the
 mark. You have six (6) MONTHS from the ISSUE DATE of this Notice of Allowance (NOA) to file either a Statement of
 Use, or if you are not yet using the mark in commerce, a Request for Extension of Time to File a Statement of use
 ("Extension Request"). If you file an extension request, you must continue to file a new request every six months until the
 Statement of Use is filed. Applicant may file a total of five (5) extension requests. FAILURE TO FILE A REQUIRED
 DOCUMENT DURING THE APPROPRIATE TIME PERIOD WILL RESULT IN THE ABANDONMENT OF YOUR
 APPLICATION.

 Please note that both the "Statement of Use " and "Extension Request" have many legal requirements including fees.
 Therefore, we encourage use of the USPTO forms, available online at http://www.uspto.gov/teas/index.html (under "File a
 PRE-registration form"), to avoid the possible omission of important informaton. Please note that the Trademark Electronic
 Application System (TEAS) provides line-by-line help instructions for completing the Extension Request or Statement of
 Use forms online. If you do not have access to the Internet, you may call 1-800-786-9199 to request the printed form(s).




                                  The following information should be reviewed for accuracy:


SERIAL NUMBER:                        76/246508
MARK:                                 JACK DANIEL'S OLD TIME OLD NO.7 BRAND QUALITY TENNESSEE SOUR MASH
                                      WHISKEY
OWNER:                                Jack Daniel's Properties, Inc.
                                      4040 Civic Center Drive
                                      Suite 528
                                      San Rafael , CALIFORNIA 94903


        Section 1(a): NO                   Section 1(b): YES                  Section 44(e): NO


                                          GOODS/SERVICES BY INTERNATIONAL CLASS


033 -       ALCOHOLIC BEVERAGES, NAMELY, TENNESSEE SOUR MASH WHISKEY


                                     ALL OF THE GOODS/SERVICES IN EACH CLASS ARE LISTED




                                                                                                                                JDPI002989
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           ADDITIONAL INFORMATION MAY BE PRESENT IN THE USPTO RECORDS




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                                      U.S. Patent and Trademark Office (PTO)

                                       NOTICE OF ALLOWANCE
        NOTE: If any data on this notice is incorrect, please fax a request for correction to the Intent to Use Unit at 571-273-9550. Please
        include the serial number of your application on ALL correspondence with the USPTO.


                                                           ISSUE DATE: Jul 15, 2003

        DAVID S. GOODER                                                                                    ATTORNEY
        JACK DANIEL'S PROPERTIES, INC.                                                                 REFERENCE NUMBER
        4040 CIVIC CENTER DR STE 528
        SAN RAFAEL CA 94903-4191                                                                                 8791



                           ** IMPORTANT INFORMATION: 6 MONTH DEADLINE **

 You filed the trademark application identified below based upon a bona fide intention to use the mark in commerce. You
 must use the mark in commerce and file a Statement of Use (a.k.a. Allegation of Use) before the USPTO will register the
 mark. You have six (6) MONTHS from the ISSUE DATE of this Notice of Allowance (NOA) to file either a Statement of
 Use, or if you are not yet using the mark in commerce, a Request for Extension of Time to File a Statement of use
 ("Extension Request"). If you file an extension request, you must continue to file a new request every six months until the
 Statement of Use is filed. Applicant may file a total of five (5) extension requests. FAILURE TO FILE A REQUIRED
 DOCUMENT DURING THE APPROPRIATE TIME PERIOD WILL RESULT IN THE ABANDONMENT OF YOUR
 APPLICATION.

 Please note that both the "Statement of Use " and "Extension Request" have many legal requirements including fees.
 Therefore, we encourage use of the USPTO forms, available online at http://www.uspto.gov/teas/index.html (under "File a
 PRE-registration form"), to avoid the possible omission of important informaton. Please note that the Trademark Electronic
 Application System (TEAS) provides line-by-line help instructions for completing the Extension Request or Statement of
 Use forms online. If you do not have access to the Internet, you may call 1-800-786-9199 to request the printed form(s).




                                  The following information should be reviewed for accuracy:


SERIAL NUMBER:                        76/246508
MARK:                                 JACK DANIEL'S OLD TIME OLD NO.7 BRAND QUALITY TENNESSEE SOUR MASH
                                      WHISKEY
OWNER:                                Jack Daniel's Properties, Inc.
                                      4040 Civic Center Drive
                                      Suite 528
                                      San Rafael , CALIFORNIA 94903


        Section 1(a): NO                   Section 1(b): YES                  Section 44(e): NO


                                          GOODS/SERVICES BY INTERNATIONAL CLASS


033 -       ALCOHOLIC BEVERAGES, NAMELY, TENNESSEE SOUR MASH WHISKEY


                                     ALL OF THE GOODS/SERVICES IN EACH CLASS ARE LISTED




                                                                                                                                JDPI002991
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                                                                                                     Commissioner for Trademarks
                                                                                                                2900 Crystal Drive
                                                                                                       Arlington , VA 22202-3513
                                                                                                                    www.uspto.gov

                                                         Apr 2, 2003
                               NOTICE OF PUBLICATION UNDER 12(a)
1. Serial No.:                                                   2. Mark:
   76/246,508                                                       JACK DANIEL'S OLD TIME OLD NO.7 BRAND QU
                                                                    Etc. and design


3. International Class(es):
   33


4. Publication Date:                                             5. Applicant:
   Apr 22, 2003                                                     Jack Daniel's Properties, Inc.




The mark of the application identified appears to be entitled to registration. The mark will, in accordance with Section 12(a) of
the Trademark Act of 1946, as amended, be published in the Official Gazette on the date indicated above for the purpose of
opposition by any person who believes he will be damaged by the registration of the mark. If no opposition is filed within the time
specified by Section 13(a) of the Statute or by rules 2.101 or 2.102 of the Trademark Rules, the Commissioner of Patents and
Trademarks may issue a notice of allowance pursuant to section 13(b) of the Statute.

Copies of the trademark portion of the Official Gazette containing the publication of the mark may be obtained from:

                                              The Superintendent of Documents
                                              U.S. Government Printing Office
                                              PO Box 371954
                                              Pittsburgh, PA 15250-7954
                                              Phone: (202) 512-1800

By direction of the Commissioner.




       Correspondence Address:

       DAVID S. GOODER                                                                     TMP&I
       JACK DANIEL'S PROPERTIES, INC.
       4040 CIVIC CENTER DR STE 528
       SAN RAFAEL CA 94903-4191




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